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                      Exhibit F
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2001 M Street NW, 10th Floor                                                                    WWW.WILKINSONSTEKLOFF.COM
                                                                                                           ___
  Washington, DC 20036
                                                                                               A LIMITED LIABILITY PARTNERSHIP




                                                    January 13, 2023


       VIA ELECTRONIC MAIL

       Sarah R. London
       Lieff Cabraser Heimann & Bernstein, LLP
       275 Battery Street, 29th Floor
       San Francisco, CA 94111-3339

                 Re:       In re: JUUL Labs, Inc. Marketing, Sales Practices & Product Liability
                           Litigation, Case No. 19-md-02913; San Francisco Unified School District v.
                           JUUL Labs, Inc., et al., No. 3:19-cv-08177

       Dear Counsel:

               Pursuant to the parties’ agreement regarding the exchange of pretrial materials, ECF No.
       3743, Defendants Altria Group, Inc., Philip Morris USA Inc., Altria Client Services LLC, and
       Altria Group Distribution Company (the “Altria Defendants”) provide below a list identifying the
       witnesses whom the Altria Defendants currently expect they are more likely to call at trial either
       live or by deposition designation, based on the information available to the Altria Defendants at
       this time. 1

                The witnesses below are listed in alphabetical order in their respective categories, and the
       Altria Defendants make no representation that such witnesses, if called to testify, will be called in
       the order set forth herein. The Altria Defendants reserve all rights to supplement or amend this
       list, including but not limited to, the right to:

                 A. Call witnesses at trial, in their case-in-chief or otherwise, not included on this list, or to
                    include additional or different witnesses on any list submitted to the Court.

                 B. Supplement and/or amend this list in light of any discovery, including depositions, that
                    has not yet been completed.

                 C. Supplement and/or amend this list in light of the evidence elicited at trial.

                 D. Supplement and/or amend this list in light of Plaintiff’s proposed exhibit list, deposition
                    designations, or witness lists.



       1
        This witness list relates only to the SFUSD case, and the Altria Defendants reserve the right to identify
       and call different witnesses in all other cases.
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E. Supplement and/or amend this list in light of the Court’s ruling on any pre-trial motions,
   including motions in limine, filed in this action.

F. Supplement and/or amend this list in light of witnesses’ availability or status under the
   Federal Rules of Civil Procedure.

G. Not call any of the persons listed below.

H. Rely on the testimony of or call any witness identified or called by another party.

I. Question the persons listed below about any topics that are the subjects of testimony
   by witnesses called by Plaintiff.

J. Call or introduce testimony from any witness deemed necessary for impeachment or
   rebuttal purposes, whether or not previously identified herein.

K. Submit as evidence deposition testimony taken in this matter, regardless of whether the
   deponent is listed below, in accordance with the parties’ agreed upon designation
   process.

L. Rely upon deposition testimony affirmatively designated by Plaintiff or Altria for any
   witness as counter-designated deposition testimony introduced in any party’s case-in-
   chief.

M. Call any witness, including witnesses not identified herein, to the extent necessary to
   support the admission of documents into evidence in the event a stipulation cannot be
   reached concerning the admissibility or authenticity of such documents.

N. Use any available method at trial (i.e. live in-person testimony, live remote testimony,
   or deposition designation video), regardless of the classifications provided herein.



          Ref.
                                      Witness & Category
          No.
                                               Live

           1       Bowen, Adam

           2       Henningfield, Jack

           3       Lakdawalla, Darius

           4       Mefford, Larry



                                         2
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                   5      Monsees, James

                   6      Murphy, Kevin

                   7      Nelson, Cheryl

                   8      Pritzker, Nicholas

                   9      Rock, Ed

                                                Live/Deposition

                  10      Flora, Jason

                  11      Hunter, Jennifer

                  12      Pak, Quarry

                                                 Deposition 2

                  13      Blaylock, Brian

                  14      Burns, Kevin

                  15      Frankel, Zach

                  16      Garnick, Murray

                  17      Gifford, William

                  18      Lee, Charlene

                  19      Longest, Kaitlin

                  20      Matthews, Vincent

                  21      Schroder, Steven

                  22      Xu, James




2
 Given the length and uncertainty of Plaintiff’s witness list, the Altria Defendants also identify
William Gardner and Pascal Fernandez as may call deposition witnesses at this time.

                                                3
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              23      Wallace, Meghan

              24      Willard, Howard



                                        Respectfully,




                                        Beth A. Wilkinson
                                        Phone: (202) 847-4000
                                        Email: bwilkinson@wilkinsonstekloff.com

                                        Counsel for Altria Defendants

cc:   Dean Kawamodo
      Dena C. Sharp
      Ellen Relkin




                                           4
